






 TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00638-CV






Mr. W. Fireworks, Inc., Appellant


v.


Comal County, Texas, Appellee






FROM THE DISTRICT COURT OF COMAL COUNTY, 274TH JUDICIAL DISTRICT

NO. C2005-1400C, HONORABLE MICHAEL J. MCCORMICK, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Mr. W. Fireworks, Inc. ("Mr. W") brings this appeal from a summary judgment
granted in favor of Comal County.  Mr. W filed suit against Comal County after County Judge Jan
Kennady issued a Declaration of Disaster for the county and an Executive Order banning the sale,
dispensing, transportation, and use of explosives and combustible materials, including fireworks, in
the county.  Mr. W, a business selling fireworks at stands throughout Comal County, initially sought
injunctive relief, which was denied by the trial court.  Mr. W then sought declaratory relief on a
number of claims related to the ban.  

		Because Mr. W's ultra vires claims are barred by sovereign immunity, we dismiss the
claims for want of jurisdiction.  Because Mr. W did not name the correct governmental entities in
its claims challenging the constitutionality of the Texas Disaster Act and an executive order issued
by the Governor, we also dismiss those claims for want of jurisdiction.  In addition, we also dismiss
Mr. W's claims challenging the constitutionality of Comal County's Executive Order for want of
jurisdiction because the order was a penal ordinance.  Finally, because Mr. W waived its arguments
regarding the constitutionality of Comal County's Emergency Management Plan, we affirm the
trial&nbsp;court's judgment with respect to those claims. 


BACKGROUND 

		In 2004, the Governor issued an executive order ("the Governor's Order")
establishing an Emergency Management Council to assist the Governor in the event of a disaster. 
The Governor's Order relied on authority granted in the Texas Disaster Act ("the Act") and was
based on "a need for a coordinated effort to protect the people and the infrastructure of Texas and
to respond to man-made or natural disasters that may occur."  See Tex. Gov't Code Ann. §§ 418.001-.183 (West 2005 &amp;&nbsp;Supp. 2009).  The Governor's Order also recommended that cities, counties, and
other political subdivisions create appropriate emergency management programs and assist and
cooperate with programs developed at the state level.  In addition, the Governor's Order directed that
mayors and county judges be designated as "Emergency Management Directors" who would "serve
as the Governor's designated agents in the administration and supervision of the Act" and "exercise
the powers, on an appropriate local scale, granted the Governor [in the Act]." 

		In December 2005, the Governor issued a proclamation that more than two-hundred
counties were threatened by a high or extreme fire hazard due to the existence of drought conditions
across the state.  In the proclamation, the Governor called for all necessary measures authorized by
statute to be implemented to meet the disaster.  On December 30, 2005, Comal County Judge Jan
Kennady received a letter from the Comal County fire marshal, informing her of an "imminent threat
of wildfire due to drought conditions and no anticipated rainfall in the forecast."  In the letter, the
fire marshal also informed Judge Kennady of a wildfire that occurred in Comal and Guadalupe
Counties six days earlier, burning approximately 1,000 acres of land.  Judge Kennady also received
a phone call from a person at the Texas Fire Service advising her of the "dire conditions" related to
the drought.  Judge Kennady called the Governor's office and spoke with the Governor's press
secretary, who sent Judge Kennady an email advising her that she could declare a local state of
disaster and restrict the sale and transportation of fireworks within the county.

		As a result of the incoming information, Judge Kennady issued a "Declaration of
Disaster for Comal County," proclaiming a local state of disaster pursuant to section 418.108(a) of
the Act. (1)  Among other things, the declaration activated the Comal County Emergency Management
Plan ("the County Plan"), which outlined Comal County's approach to emergency operations. 
Judge&nbsp;Kennady also issued an "Executive Order Regarding Restricted Use of Combustible
Materials" ("the County Order").  The County Order provided that:


	1.	The sale, dispensing, or transportation of explosives or combustible
materials, including but not limited to any type of fireworks or other
pyrotechnic material is prohibited if the manner or means of its intended and
designed use is capable of causing a wildfire . . . 


	2.	The use of any explosives or combustible materials, including but not limited
to any type of fireworks or other pyrotechnic material in an outdoor
environment by any person is prohibited if the manner or means of its
intended and designed use is capable of causing a wildfire . . . 



		Meanwhile, Mr. W had been selling fireworks at its stands in Comal County since
December 20, 2005, as authorized by statute for the New Year's season.  See Tex. Occ. Code Ann.
§&nbsp;2154.202(g)(2) (West Supp. 2009) (permitting retail fireworks permit holders to sell fireworks
beginning each year on December 20 and ending at midnight on January 1 of following year).  On
December 30, 2005, employees at Mr. W's stands were served with copies of the Declaration of
Disaster and County Order, prompting Mr. W to immediately cease all sales of fireworks.  The next
day, Mr. W filed suit against Comal County, seeking a temporary injunction to prevent Comal
County from enforcing the fireworks ban.

		The same day, the trial court held a hearing on Mr. W's request for a temporary
injunction.  After considering the evidence presented, the trial court denied the request.  On January
5, 2006, the commissioner's court of Comal County issued an order extending the Declaration of
Disaster and County Order until the county judge determined that the imminent threat of wildfires
no longer existed. (2)  Comal County filed a motion for summary judgment, and Mr. W filed a cross-motion for summary judgment.  After a hearing on both motions, the trial court granted Comal
County's motion and denied Mr. W's cross-motion.  This appeal followed.  

		In September 2007, the parties presented oral argument before this Court.  At that
time, we requested that the parties submit supplemental briefs on the issue of whether this Court had
subject-matter jurisdiction over the case.  Both parties submitted supplemental briefs in response to
our request.  We address each of the threshold jurisdictional issues below, including:  (1) whether
some of Mr. W's claims are barred by sovereign immunity; (2) whether this suit has been rendered
moot; and (3) whether the trial court had jurisdiction over constitutional challenges to the County
Order.  After dismissing most of the claims, we then turn to the remaining issue on appeal, which
involves the constitutionality of the County Plan.               


MR. W'S CLAIMS

		In its petition, Mr. W sought several declarations from the trial court that can be
broken down into the following seven claims:


	(1)	that the County Order exceeds the scope of the Governor's Order and the Act;

	(2)	that the Governor's Order exceeds the scope of the Act;

	(3)	that the County Plan exceeds the scope of the Act and the Governor's Order;

	(4)	that the Act violates the Texas and U.S. Constitutions;

	(5)	that the Governor's Order violates the Texas and U.S. Constitutions;

	(6)	that the County Order violates the Texas and U.S. Constitutions; and 

	(7)	that the County Plan violates the Texas and U.S. Constitutions.



		We will dismiss the first six of Mr. W's claims based on jurisdictional issues as
discussed below.  We will address the seventh claim, the only one over which we have jurisdiction,
as a final matter. 


JURISDICTIONAL ISSUES

Standard of Review

		Whether a trial court has subject-matter jurisdiction is a question of law that we
review de novo. (3)  See Texas Dep't of Parks &amp; Wildlife v. Miranda, 133 S.W.3d 217, 226
(Tex.&nbsp;2004).  In reviewing the jurisdictional issue, we consider the pleadings and, when necessary&nbsp;to
resolve the jurisdictional issues raised, relevant evidence submitted by the parties.  See id. at 226-27. 


Sovereign Immunity

		In Texas, sovereign immunity deprives a trial court of subject-matter jurisdiction for
lawsuits in which the State or certain governmental units have been sued unless the State consents
to suit.  See id. at 224.  Because of sovereign immunity principles, plaintiffs must properly plead any
claims based on governmental actions to ensure that they bring suit against the appropriate parties. 
See Tex. Civ. Prac. &amp; Rem. Code Ann. § 37.006(b) (West 2008) (municipality must be made party
in any proceeding involving validity of municipal ordinance or franchise); City of El Paso
v.&nbsp;Heinrich, 284 S.W.3d 366, 368-69, 372-73 (Tex. 2009) (in declaratory actions brought to
determine plaintiff's rights under statute, plaintiff limited to bringing suit against government
officials in official capacity).  Here, Mr. W did not properly plead several of its claims--including
all of its ultra vires claims and some of its constitutional claims--because it did not bring suit against
the proper parties.  We explain further below.    


	A.	Proper Pleading of Ultra Vires Claims

		An ultra vires claim is a claim seeking to require state officials to comply with
statutory or constitutional provisions.  See Heinrich, 284 S.W.3d at 372.  Such a claim is not barred
by sovereign immunity because the claim alleges not that a governmental officer erred in exercising
his or her discretion, but rather that the officer acted without legal authority or failed to perform a
purely ministerial act.  See id.  Because governmental entities remain immune from suit in
declaratory actions brought to determine a plaintiff's rights under a statute, a plaintiff is limited to
bringing ultra vires suits against government officials in their official capacity.  See id. at 368-69,
372-73.

		Mr. W raised three claims in its petition that are, in substance, ultra vires claims. 
Specifically, Mr. W sought declarations that:  (1) the County Order exceeded the scope of the
Governor's Order and the Act; (2) the Governor's Order exceeded the scope of the Act; and (3) the
County Plan exceeded the scope of the Act and the Governor's Order.  Based on Heinrich, Mr. W
should have brought each of the claims against the respective government officials in their official
capacity.  However, Mr. W brought suit only against Comal County.  Thus, the claims are barred by
sovereign immunity.  We therefore dismiss the claims for want of jurisdiction.  See Texas Dep't of
Ins. v. Reconveyance Servs., No. 07-0786, 2010 Tex. LEXIS 207, at *5-6 (Tex. March 11, 2010);
Heinrich, 284 S.W.3d at 368-69, 372-73.

		After dismissing Mr. W's ultra vires claims, the following claims remain:  (1) that
the Act violates the Texas and U.S. Constitutions; (2) that the Governor's Order violates the Texas
and U.S. Constitutions; (3) that the County Order violates the Texas and U.S. Constitutions; and
(4)&nbsp;that the County Plan violates the Texas and U.S. Constitutions.  Like the ultra vires claims,
Mr.&nbsp;W was required to bring its constitutional claims against certain specified parties.  We address
the issue below. 


	B.	Proper Pleading of Constitutional Claims

		Mr. W's remaining claims challenge the constitutionality of the Act, the Governor's
Order, the County Order, and the County Plan under the Texas and U.S. Constitutions.  For such
claims, the Uniform Declaratory Judgments Act requires that the relevant governmental entities be
made parties to the suit.  See Tex. Civ. Prac. &amp; Rem. Code Ann. §&nbsp;37.006(b) ("In any proceeding that
involves the validity of a municipal ordinance or franchise, the municipality must be made a party
and is entitled to be heard, and if the statute, ordinance, or franchise is alleged to be unconstitutional,
the attorney general of the state must also be served with a copy of the proceeding and is entitled to
be heard.") (4); Heinrich, 284 S.W.3d at 373 n.6; Texas Educ. Agency v. Leeper, 893 S.W.2d 432, 446
(Tex. 1994) ("The DJA expressly provides that persons may challenge ordinances or statutes, and
that governmental entities must be joined or notified.  Governmental entities joined as parties may
be bound by a court's declaration on their ordinances or statutes.  The Act thus contemplates that
governmental entities may be--indeed, must be--joined in suits to construe their legislative
pronouncements.").  

		Although Mr. W raised claims seeking declarations that the Act, the Governor's
Order, the County Order, and the County Plan violate both the Texas and U.S. Constitutions, it
named only Comal County as a defendant.  Given Mr. W's failure to make the State or Governor's
office parties to this suit, we dismiss Mr. W's claims regarding the constitutionality of the Act and
the Governor's Order under the Texas and U.S. Constitutions.  See Tex. Civ. Prac. &amp; Rem. Code
Ann. § 37.006(b); Heinrich, 284 S.W.3d at 373 n.6; Leeper, 893 S.W.2d at 446.  On the other hand,
the claims regarding the County Order and the County Plan were correctly brought against Comal
County.  Thus, only those claims--that the County Order violates the Texas and U.S. Constitutions
and that the County Plan violates the Texas and U.S. Constitutions--remain.

		Because the County Order expired some time ago, and because there have since been
two legislative amendments to the Act, we must next address whether the two remaining claims have
been rendered moot.  


Mootness

	A.	"Capable of Repetition, Yet Evading Review" Exception

		Mr. W concedes that the County Order expired long ago, which would normally
render this controversy moot.  See In re Kellogg Brown &amp; Root, Inc., 166 S.W.3d 732, 737
(Tex.&nbsp;2005) (case becomes moot if controversy ceases to exist between parties at any stage of legal
proceedings, including appeal); Board of Adjustment v. Wende, 92 S.W.3d 424, 427 (Tex. 2002)
(case becomes moot when issues no longer live or parties lack legally cognizable interest in
outcome) (quoting Murphy v. Hunt, 455 U.S. 478, 481 (1982)).  However, Mr. W asserts that this
suit falls under the "capable of repetition, yet evading review" exception to the mootness doctrine. 
To invoke the exception, a plaintiff must prove that: (1) the challenged action was too short in
duration to be litigated fully before the action ceased or expired; and (2) a reasonable expectation
exists that the same complaining party will be subjected to the same action again.  Williams v. Huff,
52 S.W.3d 171, 184 (Tex. 2001); Lakey v. Taylor, 278 S.W.3d 6, 12 (Tex. App.--Austin 2008,
no&nbsp;pet.).  

		Mr. W satisfies both elements of the exception.  It satisfies the first element--that the
challenged action was too short in duration to be litigated fully before the action expired--because
the New Year's fireworks season lasts for only thirteen days, and the ban was executed on
December&nbsp;30, which was shortly before the season ended on January 1.  See Tex. Occ. Code
Ann.&nbsp;§&nbsp;2154.202(g)(2) (permitting retail fireworks permit holder to sell fireworks to public
beginning each year on December 20 and ending at midnight on January 1 of following year);
Morrow v. Truckload Fireworks, Inc., 230 S.W.3d 232, 235 &amp; n.5 (Tex. App.--Eastland 2007,
pet.&nbsp;dism'd) (first element of exception met where fireworks season lasted from June 24 through
July&nbsp;4, and ban was executed on June 27).  Because the period of time between the execution of the
ban and the end of fireworks season was so brief, it was impossible for Mr. W to fully litigate the
matter before the controversy became moot.  See Morrow, 230 S.W.3d at 235.

		Comal County concedes that Mr. W may meet the second element of the
exception--that a reasonable expectation exists that Mr. W will be subjected to the same action
again--because, as Comal County states in its brief, "[Mr. W] is in the business of selling
fireworks," and "[c]hances exist that a major disaster drought could again affect Comal County
during periods when [Mr. W] would be in the business of selling fireworks."  We agree.  The
president of Mr. W testified in an affidavit that Mr. W was in the business of selling fireworks and
that it operated several fireworks stands in Comal County.  The Governor's Order and County Plan,
both of which Comal County relies on for its authority to issue the fireworks ban in this case, are still
in force.  In the event of drought conditions in future fireworks seasons, we conclude that there is
a reasonable expectation that Comal County will respond to the conditions by issuing a fireworks
ban similar to the one in this case and that Mr. W will challenge such a ban again.  See id. at 235-36. 
Accordingly, the "capable of repetition, yet evading review" exception applies to this case.  


	B.	Legislative Amendments

		Even conceding the exception's applicability, however, Comal County argues that
the case has nevertheless been rendered moot by two legislative amendments to the Act.  See Act of
June 6, 2007, 80th Leg., R.S., ch. 258, § 17.01, 2007 Tex. Sess. Law. Serv. 367, 393 (West)
(codified at Tex. Gov't Code § 418.108(i)); Act of June 15, 2007, 80th Leg., R.S., ch. 865, § 1.02,
2007 Tex. Sess. Law. Serv. 1832, 1833 (West) (codified at Tex. Gov't Code § 418.1015(a)-(c)).  The
first amendment to the Act broadened a county's ability to restrict fireworks after issuing a
declaration of local disaster, stating:


	A declaration under this section may include a restriction that exceeds a restriction
authorized by Section 352.051, Local Government Code.  A restriction that exceeds
a restriction authorized by Section 352.051, Local Government Code, is effective
only:


	(1)	for 60 hours unless extended by the governor; and 


	(2)	if the county judge requests the governor to grant an extension of the
restriction.



Tex. Gov't Code Ann. § 418.108(i) (West Supp. 2009).  		


		The second amendment clarified the powers granted to the presiding officer of a
county government, stating:


	(a)	The presiding officer of the governing body of an incorporated city or a
county or the chief administrative officer of a joint board is designated as the
emergency management director for the officer's political subdivision.


	(b)	An emergency management director serves as the governor's designated
agent in the administration and supervision of duties under this chapter.  An
emergency management director may exercise the powers granted to the
governor under this chapter on an appropriate local scale.


			(c)	An emergency management director may designate a person to serve as
emergency management coordinator.  The emergency management
coordinator shall serve as an assistant to the emergency management director
for emergency management purposes. 



Tex. Gov't Code Ann. § 418.1015(a)-(c) (West Supp. 2009).  

		Comal County contends that the amendments render Mr. W's claims moot because
all of Mr. W's claims "center around the notion that [Comal County] lacked the legal authority to
issue [the County Order]," and the amendments establish the legality of Comal County's actions. 
However, only two of Mr. W's arguments are rendered moot by the amendments.  In the first
affected argument, Mr. W asserted that the County Order exceeded the scope of authority granted
under the Act and the Governor's Order because it exceeded the scope of authority granted under
section 352.051 of the government code. (5)  The argument was rendered moot by the amendment
stating that a fireworks restriction can exceed a restriction authorized by section 352.051.  See id.
§ 418.108(i).  In the second affected argument, Mr. W asserted that the Governor's Order exceeded
the authority granted by the Act because the Act did not grant the Governor authority to allow a
county to issue orders on his behalf.  The argument was rendered moot by the legislative amendment
stating that county officers could exercise the powers granted to the Governor under the Act.  See
id. § 418.1015(b).

		Although two of Mr. W's arguments have been rendered moot by the legislative
amendments, both of the arguments were offered in support of ultra vires claims that we are
dismissing for want of jurisdiction.  The moot arguments therefore do not affect our analysis.


	C.	Conclusion Regarding Mootness

		Because the mootness doctrine implicates only dismissed claims, the two surviving
claims we have already mentioned--that the County Order violates the Texas and U.S. Constitutions
and that the County Plan violates the Texas and U.S. Constitutions--remain unaffected.  However,
before we consider the claims, we must address a final jurisdictional argument made by Comal
County with regard to the claim involving the County Order.  In its argument, Comal County
contends that the trial court, a court of equity, did not have jurisdiction over the County Order
because the County Order was a criminal ordinance.  We turn to this issue next. 


Jurisdiction Over Criminal Ordinance

		Comal County contends that the trial court did not have subject-matter jurisdiction
over Mr. W's challenges to the constitutionality of the County Order because the court was sitting
as one of equity, and the County Order is a penal ordinance.  Courts of equity do not have
jurisdiction to interfere with the attempted enforcement of a criminal statute unless the statute is
unconstitutional and its enforcement will result in irreparable injury to vested property rights.  See
State v. Morales, 869 S.W.2d 941, 945 (Tex. 1994); Morrow, 230 S.W.3d at 236.  The lack of
jurisdiction in this type of case applies not only to suits seeking to enjoin enforcement but also to
suits seeking a declaratory judgment regarding the constitutionality of the statute or ordinance.  See
Morales, 869 S.W.2d at 947.  Here, Mr. W sought declarations that the County Order violated the
Texas and U.S. Constitutions.  The County Order is a criminal ordinance because it states that "a
person who knowingly or intentionally violates this order commits a Class C Misdemeanor,
punishable by a fine of up to $500.00."  See Morrow, 230 S.W.3d at 236-37.

		The four scenarios in which a party may seek relief from a court of equity based on
the unconstitutionality of a criminal statute include when:  (1) the statute is enforced, and the party
is being prosecuted; (2) the statute is enforced, and the threat of prosecution is imminent, although
the party has yet to be prosecuted; (3) there is no actual or threatened enforcement of the statute, and
the party does not seek an injunction against its enforcement, but the statute is nonetheless integrally
related to conduct subject to the court's equity jurisdiction; and (4)&nbsp;there is no actual or threatened
enforcement of the statute and no complaint of specific conduct remediable by injunction.  See
Morales, 869 S.W.2d at 944-45; Morrow, 230 S.W.3d at 237-38. 

		Although the first and second scenarios provide a court of equity with jurisdiction,
they do so only if the plaintiff shows that the statute will cause irreparable injury to a vested property
right.  See Morales, 869 S.W.2d at 945; Morrow, 230 S.W.3d at 238.  The term "property right"
refers to any type of right to specific property, whether tangible or intangible.  Black's Law
Dictionary 1437 (9th ed. 2009).  The term "vested right" refers to a right "that so completely and
definitely belongs to a person that it cannot be impaired or taken away without the person's consent." 
Id. at 1438.  A vested right "has some definitive, rather than merely potential existence."  City of
La&nbsp;Marque v. Braskey, 216 S.W.3d 861, 864 (Tex. App.--Houston [1st Dist.] 2007, pet. denied);
Morrow, 230 S.W.3d at 238.  Property rights are created and defined by state law.  See Stratton
v.&nbsp;Austin Indep. Sch. Dist., 8 S.W.3d 26, 29 (Tex. App.--Austin 1999, no pet.) (citing Board of
Regents of State Colleges v. Roth, 408 U.S. 564, 577 (1972)).  

		In Morrow, the court held that a county order banning the use of fireworks did not
implicate a vested property right of a fireworks business.  230 S.W.3d at 239.  Mr. W contends that
this case is distinguishable from Morrow because the County Order in this case bans the sale,
dispensation, and transportation of fireworks, while the order in Morrow banned only the use of
fireworks.  Id. at 234.  However, a property owner has no vested right to use its property for a
particular purpose. (6)  See id. at 240; Braskey, 216 S.W.3d at 863.  Thus, Mr. W does not have a
vested property right to sell or dispense fireworks in Comal County.  See Morrow, 230 S.W.3d at
240 ("[E]ven if the ban had prohibited the sale, rather than the use, of all fireworks . . . no vested
property right would be implicated because a property owner has no absolute right to use his property
for a particular purpose."); Braskey, 216 S.W.3d at 864 (property owner did not have vested property
right to use property for animal shelter); Hang On III, Inc. v. Gregg County, 893 S.W.2d 724, 726-27
(Tex. App.--Texarkana 1995, writ dism'd by agr.) (property owner did not have vested property
right to use property for sexually-oriented business). 

		Regarding the ban on the transportation of fireworks, Mr. W asserts that because the
ban prohibited Mr. W from moving its fireworks to nearby counties to sell them, the ban "directly
impacted Mr. W's vested property rights . . . in the sale of its merchandise and in the mitigation of
its damages."  We have already determined that Mr. W did not have a vested property right in the
sale of its fireworks.  Further, Mr. W does not cite to, and we have not found, any authority for the
proposition that a property owner has a vested property right in the transportation of its property or
in the mitigation of damages involving the property. 	

		Because Mr. W has not identified a vested property right, the trial court did not have
jurisdiction over Mr. W's claim that the County Order violated the Texas and U.S. Constitutions. (7) 
Accordingly, we dismiss the claim for want of jurisdiction.  After dismissing the claim regarding the
County Order, only one of Mr. W's claims remains: that the County Plan violates the Texas and U.S.
Constitutions.   


REMAINING CONSTITUTIONAL CLAIM

		Because we have jurisdiction over Mr. W's remaining claim--that the County Plan
violates the Texas and U.S. Constitutions--we address the claim below.  


Texas Constitution

		Although Mr. W's petition challenges the constitutionality of the County Plan under
the Texas Constitution, Mr. W does not address the claim on appeal.  Because Mr. W does not offer
any arguments or citations to legal authority or the record with regard to this claim, Mr. W has
waived the argument on appeal.  See Tex. R. App. P. 38.1(i) (requiring briefs to contain clear and
concise argument for contentions made and appropriate citations to authorities and record). 


U.S. Constitution 

		Mr. W contends that the County Plan violates the Commerce Clause of the U.S.
Constitution.  However, Mr. W does so only in a general argument that includes the Act, the State
Emergency Management Plan, (8) the County Plan, and the County Order, and it cites to no legal
authority other than the Commerce Clause itself in support of its argument.  Specifically, Mr. W
offers the following argument in its brief: 


	Assuming [the Act], [the Governor's Order], the State Emergency Management Plan,
[and the County Plan] have the effect claimed by Comal County, giving the local
county official the authority to sua sponte create laws affecting the use, transportation
and sales of generally "combustible materials," explosives, alcohol and fireworks,
then they violate the Commerce Clause of the United States Constitution. 

                        


		Because Mr. W does not specifically address the County Plan's constitutionality with
regard to the Commerce Clause, and because it does not cite to any legal authority for its argument
other than the Commerce Clause itself, Mr. W has waived this issue.  See Tex. R. App. P. 38.1(i). 


CONCLUSION		Based on sovereign immunity, the trial court did not have jurisdiction over Mr. W's
claims that:  (1) the County Order exceeded the scope of the Governor's Order and the Act; (2) the
Governor's Order exceeded the scope of the Act; and (3) the County Plan exceeded the scope of the
Act and the Governor's Order.  We therefore dismiss those claims for want of jurisdiction.  Based
on Mr. W's failure to name the correct governmental entities as required by the Declaratory
Judgments Act, the trial court also did not have jurisdiction over Mr. W's claims that:  (1) the Act
violated the Texas and U.S. Constitutions, and (2) the Governor's Order violated the Texas and U.S.
Constitutions.  We therefore dismiss those claims for want of jurisdiction.  Because the County
Order was a penal ordinance, the trial court also did not have jurisdiction over Mr. W's claim that
the County Order violated the Texas and U.S. Constitutions.  Thus, we also dismiss that claim for
want of jurisdiction.  Finally, Mr. W waived its arguments regarding the constitutionality of the
County Plan, and we therefore affirm the trial court's judgment with respect to Mr. W's claim that
the County Plan violated the Texas and U.S. Constitutions. 

	


						__________________________________________

						Diane M. Henson, Justice

Before Chief Justice Law, Justices Waldrop and Henson;  

    Chief Justice Law Not Participating (9)

Affirmed in part; Vacated and Dismissed in part

Filed:   March 31, 2010

		       		



	
1.   Section 418.108(a) states that "[t]he presiding officer of the governing body of a political
subdivision may declare a local state of disaster."  See Tex. Gov't Code Ann. § 418.108(a) (West
Supp. 2009).  
2.   The record does not reflect when the extension was terminated, but both parties agree that
it was terminated long before this appeal was filed.  
3.   We may raise the issue of jurisdiction on our own motion.  See Tex. R. App. P. 42.3(a);
Atlas Gulf-Coast Inc. v. Stanford, 299 S.W.3d 356, 358 (Tex. App.--Houston 2009, no pet.);
Insurance Co. of State of Pa. v. Orosco, 170 S.W.3d 129, 135 (Tex. App.--San Antonio 2005,
no&nbsp;pet.).  
4.   Mr. W's petition indicates that Mr. W served the attorney general as required.
5.   Section 352.051 authorizes a county to restrict the sale or use of certain fireworks during
drought conditions.  See Tex. Loc. Gov't Code Ann. § 352.051 (West Supp. 2009).  
6.   The parties do not dispute that Mr. W has a property right in its inventory of fireworks. 
See Morrow v. Truckload Fireworks, Inc., 230 S.W.3d 232, 238 (Tex. App.--Eastland 2007, pet.
dism'd); Stratton v. Austin Indep. Sch. Dist., 8 S.W.3d 26, 29 (Tex. App.--Austin 1999, no pet.)
(person's property interests include actual ownership of real estate, chattels, and money). 
7.   Mr. W also contends that the trial court had jurisdiction over Mr. W's challenges to the
constitutionality of the County Order because the County Order imposed criminal penalties on
customers as well as employees, thus falling within an exception to the general jurisdictional rule. 
However, Mr. W is incorrect in stating that the County Order imposed penalties on customers, and
the cases cited by Mr. W in support of its argument are distinguishable from this case.  See
Houston&nbsp;v. Jas. K. Dobbs Co., 232 F.2d 428 (5th Cir. 1956); Austin v. Austin City Cemetery Ass'n,
28 S.W. 528 (Tex. 1894); Robinson v. Jefferson County, 37 S.W.3d 503 (Tex. App.--Texarkana
2001, no&nbsp;pet.).  In all three cases, the ordinance at issue explicitly outlawed behavior of the business
owner and the customers, making it impossible for the business owner to adequately contest the
validity of the ordinance by violating it when its customers did not also do so.  See Houston, 232
F.2d at 431; Austin, 28 S.W. at 528-29; Robinson, 37 S.W.3d at 506, 509.  In this case, the County
Order did not impose penalties on customers who bought fireworks.  Thus, Mr. W could have
violated the ordinance by selling fireworks to a customer without having to expect or compel the
customer to also face criminal penalties.  Further, the County Order was a temporary order issued
as a result of an emergency situation, while in all three cases cited by Mr. W, the ordinances were
permanent and unrelated to an emergency.  Accordingly, we are not persuaded by Mr. W's argument. 
    
8.   We do not address Mr. W's contention regarding the State Emergency Management Plan
because Mr. W did not request any relief from the trial court regarding the plan.  
9.   Because Chief Justice Law was originally assigned to author this opinion, authoring duties
were reassigned.  


